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                                     EPSTEIN SACKS PLLC
                                           ATTORNEYS AT LAW
                                 100 LAFAYETTE STREET - SUITE 502
                                          NEW YORK, N.Y. 10013
                                              (212) 684-1230
                                            Fax (212) 571-5507

                                                             BENNETT M. EPSTEIN: (917) 653-7116
                                                             SARAH M. SACKS: (917) 566-6196

                                                             February 18, 2025
Honorable Sarah Netburn
United States Magistrate Judge
Southern District of New York
40 Foley Square
New York, NY 10007-1312

By Email to Arraignment@nysd.uscourts.gov

                                        United States v. Joey Grant Luther
                                                25 Mag. 166 (UA)
Dear Magistrate Judge Netburn:

        We represent Joey Grant Luther pursuant to the Criminal Justice Act. He was arrested on January 22,
2025 based on the above-captioned complaint. Magistrate Judge Cave set bail and released him to satisfy the
conditions, which include in pertinent part his having to “surrender his aesthetician license and refrain from
practicing or administering any beauty/aesthetic services while the case is pending” and secure his bond with an
apartment he owns located in Miami, Florida.

        With respect to his license, we spoke to an attorney in the New York Department of State office, the
agency that oversees Mr. Luther’s aesthetician license, who told us that to them “surrender” is a term of art, and
if he were to “surrender” his license there would be no opportunity for him to get it back under any circumstances.
As we understand it, this is not what the Court intended since it provided for the possibility that Mr. Luther could
reactivate his license, seemingly depending on the outcome of his case. The attorney at the Department of State
informed us that making it a condition that he “suspend” his license through the pendency of his case would serve
the purpose intended by the Court.

        For these reasons, we respectfully request that the Court amend Mr. Luther’s bond conditions so that the
condition with respect to his license direct him to “suspend his aesthetician license and refrain from practicing or
administering any beauty/aesthetic services while the case is pending.” With respect to posting his apartment in
Miami, Mr. Luther needs additional time to perfect the security interest in the property. We ask that he be given
until February 28, 2025 to meet this condition. We have discussed these matters with both pretrial services and
the Government, neither of whom have any objection to these requests.

   The bail modification requests are GRANTED.               Respectfully submitted,
   SO ORDERED.




   DATED:          February 18, 2025
                   New York, New York
